                   IN THE COURT OF APPEALS OF NORTH CAROLINA

                                       2021-NCCOA-144

                                        No. COA20-142

                                      Filed 20 April 2021

     Buncombe County, Nos. 17 CRS 87437–38

     STATE OF NORTH CAROLINA

                  v.

     JAMES LEROY JACKSON, JR.


           Appeal by defendant from judgment entered 8 March 2019 by Judge Peter B.

     Knight in Buncombe County Superior Court. Heard in the Court of Appeals 10

     February 2021.


           Attorney General Joshua H. Stein, by Assistant Attorney General Asher P.
           Spiller, for the State.

           Hynson Law, PLLC, by Warren D. Hynson, for defendant.


           DIETZ, Judge.


¶1         Defendant James Jackson appeals his conviction for possession of cocaine with

     intent to sell or deliver. Jackson argues that he sold two white rocks to an undercover

     detective who handled them with his bare hands and then placed them into the

     console area of his car without securing them. Thus, Jackson argues, those white

     rocks were exposed to potential contaminants and were either inadmissible or so

     compromised that they could not constitute substantial evidence of the crime.
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¶2         We reject these arguments. Jackson’s concerns about the handling of this

     physical evidence go to weight and credibility, not admissibility, and the evidence

     readily was sufficient to send the charge to the jury.

¶3         Jackson also contends that the trial court erred by informing the jury that they

     should have the “goal” of reaching a unanimous verdict. The challenged instruction

     occurred after the trial court already provided detailed instructions to ensure that

     jurors understood they were not compelled to reach a unanimous verdict. In light of

     those instructions, the jury understood that it should deliberate and reach a

     unanimous verdict if possible but was not compelled to do so. Accordingly, we reject

     this argument as well and find no error in the trial court’s judgment.

                               Facts and Procedural History

¶4         In 2017, an undercover detective with the Asheville Police Department drove

     into an apartment complex, displayed some cash, and indicated that he was looking

     to buy drugs. A woman directed him to Defendant James Jackson. Jackson took the

     money from the detective and then handed him what the detective described as two

     “little rocks of crack cocaine.” These “rocks” were unpackaged and the detective

     handled them with his bare hands. When the detective returned to his car, he put the

     two unpackaged rocks in the console area. The detective then drove back to the police

     station, put the items in a secure envelope, entered them into the computer system,

     and then deposited them in the property room drop box, where they stayed until they
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     were delivered for laboratory testing.

¶5           The State charged Jackson with selling a mixture containing cocaine and

     possession with intent to sell or deliver a mixture containing cocaine. At trial, a

     forensic scientist testified that the rocks purchased by the detective contained

     cocaine. The detective also testified that he visually identified the substance as

     cocaine.

¶6           The jury acquitted Jackson of selling cocaine and convicted him of possession

     with intent to sell or deliver cocaine. The trial court sentenced Jackson to 16 to 29

     months in prison. Jackson appealed.

                                              Analysis

        I.      Sufficiency of evidence of possession of a controlled substance

¶7           Jackson first challenges the denial of his motion to dismiss. He contends that

     the white rocks he sold to the detective were contaminated when the detective

     handled them with his bare hands, rendering any laboratory testing unreliable. Thus,

     he argues, there was no substantial evidence that the rocks actually contained

     cocaine.

¶8           “This Court reviews the trial court’s denial of a motion to dismiss de novo.”

     State v. Smith, 186 N.C. App. 57, 62, 650 S.E.2d 29, 33 (2007). A trial court properly

     denies a motion to dismiss if there is substantial evidence that the defendant

     committed each essential element of the charged offense. Id. “Substantial evidence is
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       such relevant evidence as a reasonable mind might accept as adequate to support a

       conclusion.” Id.
¶9           “The offense of possession with intent to sell or deliver has the following three

       elements: (1) possession of a substance; (2) the substance must be a controlled

       substance; (3) there must be intent to sell or distribute the controlled substance.”

       State v. Yisrael, 255 N.C. App. 184, 187–88, 804 S.E.2d 742, 744 (2017), aff’d per

       curiam, 371 N.C. 108, 813 S.E.2d 217 (2018). Jackson focuses on the second element,

       arguing that the State’s evidence “only raised a suspicion” that the white rocks were

       cocaine. This is so, Jackson argues, because the detective handled the rocks with his

       bare hands, admitted to handling cocaine with his bare hands earlier that same day,

       and admitted to putting the white rocks in the same area of his car that he previously

       stored other seized cocaine earlier that day. Thus, Jackson argues, the State failed to

       present sufficient evidence to show that, at the time Jackson sold the white rocks to

       the officer, those rocks contained cocaine.

¶ 10         To be sure, Jackson’s argument is one that a jury could consider when

       evaluating the weight to give to the laboratory testing, because the detective might

       have inadvertently contaminated the evidence with cocaine residue from earlier

       investigations. But these are questions of weight and credibility. The State

       unquestionably presented sufficient evidence from which a reasonable juror could

       conclude that the State proved each element of the charged offense. State v.
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       Blackmon, 208 N.C. App. 397, 401, 702 S.E.2d 833, 836 (2010). Accordingly, the trial

       court did not err by denying the motion to dismiss.

          II.      Admissibility of controlled substance

¶ 11            Jackson next argues that the trial court plainly erred by admitting the white

       rocks into evidence because the possibility of contamination prevented the evidence

       from properly being authenticated under the Rules of Evidence. Jackson

       acknowledges that he did not object to the admission of this evidence and thus we can

       review this argument solely for plain error.

¶ 12            “For error to constitute plain error, a defendant must demonstrate that a

       fundamental error occurred at trial.” State v. Lawrence, 365 N.C. 506, 518, 723 S.E.2d

       326, 334 (2012). “To show that an error was fundamental, a defendant must establish

       prejudice—that, after examination of the entire record, the error had a probable

       impact on the jury’s finding that the defendant was guilty.” Id. Plain error should be

       “applied cautiously and only in the exceptional case” where the error “seriously affects

       the fairness, integrity or public reputation of judicial proceedings.” Id.
¶ 13            “Rule 901(a) requires that evidence be authenticated by showing that the

       matter in question is what its proponent claims.” State v. Snead, 368 N.C. 811, 814,

       783 S.E.2d 733, 736 (2016). Thus, before physical evidence is admitted, it “must be

       identified as being the same object involved in the incident and it must be shown that

       the object has undergone no material change.” State v. Campbell, 311 N.C. 386, 388,
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       317 S.E.2d 391, 392 (1984). The trial court has “sound discretion in determining the

       standard of certainty” necessary to satisfy this test. Id. at 388–89, 317 S.E.2d at 392.

¶ 14         The possibility that physical evidence has been contaminated does not, by

       itself, bar that evidence from being authenticated and admitted. In State v. Mandina,

       for example, the State introduced carpet fibers taken from a car used in a burglary.

       91 N.C. App. 686, 696–97, 373 S.E.2d 155, 161–62 (1988). The defendant argued that

       the fibers were inadmissible because, after law enforcement found the car, its owner

       moved it “to make room in the garage” and officers did not return to seize the car

       until several days later. Thus, the defendant argued, there was “no clean chain of

       custody.” Id.
¶ 15         The Supreme Court rejected this argument, holding that “defendant’s

       argument, strictly analyzed, does not raise a chain of custody problem” Id. at 696,

       373 S.E.2d at 162. “Rather, defendant argues that the source of the evidence, the

       vehicle, had been contaminated by the possible introduction of fibers by third parties

       due to the State’s failure to secure the vehicle.” Id. at 696–97, 373 S.E.2d at 162. “In

       our view, as long as the State laid proper foundation authenticating the evidence as

       the fibers actually seized from the vehicle, defendant’s argument goes to the weight

       of the evidence rather than to the admissibility of it.” Id. at 697, 373 S.E.2d at 162
       (citation omitted).

¶ 16         The same is true here. Jackson does not argue that the State failed to establish
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       that the white rocks tested in the laboratory were the ones the detective purchased

       from Jackson in the undercover drug operation. Instead, Jackson argues that there

       is a possibility that those white rocks were contaminated when the detective handled

       them with his bare hands and placed them in an area of his car that may have been

       exposed to drug residue from earlier undercover activity. Under Mandina, these

       arguments go “to the weight of the evidence rather than to the admissibility of it.” Id.
       We therefore find no error, and certainly no plain error, in the trial court’s admission

       of the challenged evidence.

          III.   Jury instructions on further deliberations

¶ 17         Lastly, Jackson asserts that the trial court’s instructions that the jury resume

       their deliberations “with the goal of reaching a unanimous decision as to each charge”

       were unduly coercive.

¶ 18         We review this issue de novo. State v. Gettys, 219 N.C. App. 93, 101, 724 S.E.2d

       579, 586 (2012). Jury instructions encouraging the jury to continue deliberations and

       reach a unanimous verdict often are referred to as Allen charges because the doctrine

       originated from Allen v. United States, 164 U.S. 492, 501–02 (1896).

¶ 19         In North Carolina, Allen charges are governed by a statute. N.C. Gen. Stat.

       § 15A-1235. When a jury indicates that it is unable to reach a unanimous verdict, the

       trial court can instruct the jury that: “(1) Jurors have a duty to consult with one

       another and to deliberate with a view to reaching an agreement, if it can be done
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       without violence to individual judgment; (2) Each juror must decide the case for

       himself, but only after an impartial consideration of the evidence with his fellow

       jurors; (3) In the course of deliberations, a juror should not hesitate to reexamine his

       own views and change his opinion if convinced it is erroneous; and (4) No juror should

       surrender his honest conviction as to the weight or effect of the evidence solely

       because of the opinion of his fellow jurors, or for the mere purpose of returning a

       verdict.” N.C. Gen. Stat. § 15A-1235(b).

¶ 20         A “charge which might reasonably be construed by a juror as requiring him to

       surrender his well-founded convictions or judgment to the views of the majority is

       erroneous.” State v. Gillikin, 217 N.C. App. 256, 262, 719 S.E.2d 164, 168 (2011).

       Thus, the trial court “may not require or threaten to require the jury to deliberate for

       an unreasonable length of time or for unreasonable intervals.” N.C. Gen. Stat. § 15A-

       1235(c). Telling the jury they must deliberate “until” they reach a unanimous verdict,

       for example, is “compelling, coercive language” that is impermissible. Gillikin, 217

       N.C. App. at 265, 719 S.E.2d at 170.

¶ 21         In this case, the jury sent a note after the first day of deliberations explaining

       that “[a]t this moment we cannot come to a unanomous [sic] decision on neither guilty

       or not guilty.” In response, the court properly instructed the jury using the language

       of N.C. Gen. Stat. § 15A-1235 before sending the jury home for the night. The next

       morning, when the jury returned, the court instructed the jury, telling them, “I will
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       now release you to the jury room to resume your deliberations with a goal of reaching

       a unanimous decision as to each charge.”

¶ 22         Jackson argues that the trial court’s instruction to resume deliberations

       “with a goal of reaching a unanimous decision,” which was given separately from the

       full Allen instructions the previous evening, was unduly coercive and resulted in a

       defective jury verdict. We reject this argument. The trial court properly gave the

       required Allen instructions to ensure that jurors understood they were not compelled

       to reach a unanimous verdict. In light of those instructions, the trial court’s decision,

       when deliberations resumed, to inform the jury that they should have the “goal” of

       reaching a unanimous verdict did not compel any juror to “surrender his well-founded

       convictions or judgment to the views of the majority.” Gillikin, 217 N.C. App. at 262,

       719 S.E.2d at 168. It simply reinforced that the jury’s charge was to deliberate and

       reach a unanimous verdict if possible. We thus find no error in the trial court’s

       instructions.

                                            Conclusion

¶ 23         We find no error in the trial court’s judgment.

             NO ERROR.

             Judges ZACHARY and GRIFFIN concur.
